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Court-Appointed Receiver and Attorneys for Court-Appointed Receiver

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 SECURITIES AND EXCHANGE
 COMMISSION,                                       SIXTH INTERIM FEE APPLICATION
                                                    FOR RECEIVER AND RECEIVER’S
                        Plaintiff.                  PROFESSIONALS FOR SERVICES
                                                     RENDERED FROM APRIL 1, 2018
           v.                                           THROUGH JUNE 30, 2018
 TRAFFIC MONSOON, LLC, a Utah Limited                         2:16-cv-00832-JNP
 Liability Company, and CHARLES DAVID
 SCOVILLE, an individual,                                 The Honorable Jill N. Parrish

                        Defendants.



         Peggy Hunt, the Court-appointed Receiver (the “Receiver”) of Traffic Monsoon, LLC

(“Traffic Monsoon”) and the assets of Charles David Scoville (“Scoville” and, together with

Traffic Monsoon, the “Defendants”) that were obtained directly or indirectly from Traffic

Monsoon, hereby submits this interim “Fee Application,” seeking approval by the Court of fees

and expenses incurred by the Receiver, the Receiver’s counsel, Dorsey & Whitney LLP

(“Dorsey”), and the Receiver’s accountants, Berkley Research Group, LLC (“BRG”), for the

period of April 1, 2018 through June 30, 2018 (the “Application Period”) and authorization to



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pay all allowed fees and expenses from funds of the Receivership Estate. The Receiver

respectfully submits that the Application should be approved. In support hereof, the Receiver

states as follows.

                                                    I.

                                         CASE BACKGROUND

           1.        On July 26, 2016, the above-captioned case was commenced by the United States

Securities and Exchange Commission (the “SEC”) against the Defendants, alleging violations of

federal securities laws. On that same day, the Court entered a Temporary Restraining Order and

Order Freezing Assets, which was amended, in relevant part, on July 27, 2016 and on November

4, 2016. 1

                                             Relevant Orders

           2.        On July 27, 2016, the Court entered an Order Appointing Receiver (the

“Receivership Order”), 2 thereby appointing the Receiver and stating in paragraphs 19 and 20 as

follows:

           19.     The Receiver is authorized to employ professionals to assist her in carrying
           out the duties and responsibilities described in this Order. The Receiver shall not
           engage any professionals without first obtaining an Order of the Court authorizing
           such engagement. The Receiver is authorized to retain Dorsey & Whitney LLP, a
           firm in which the Receiver is a partner, as the Receiver’s counsel in this matter.

           20.     The Receiver and Retained Professionals are entitled to reasonable
           compensation and expense reimbursement from the receivership estate as described
           in the “Billing Instructions for Receivers in Civil Actions commenced by the U.S.
           Securities and Exchange Commission (the “Billing Instructions”) agreed to by the
           Receiver. Such compensation shall require the prior approval of the Court.



1
    Docket Nos. 8, 14 & 56.
2
    Docket No. 11.

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           3.        The Court thereafter entered an Order Granting Receiver’s Ex Parte Motion

Seeking Authorization to Employ Accountants, 3 authorizing the Receiver’s employment of BRG

effective as of September 2, 2016.

           4.        On March 28, 2017, the Court entered, among other things, a Preliminary

Injunction 4 and an Amended Order Appointing Receiver (the “Amended Receivership Order”). 5

The Amended Receivership Order restates, without making substantive changes to, paragraphs

19 and 20 of the Receivership Order quoted in ¶ 2 above. 6

           5.        On June 13, 2017, the Court entered an Order Establishing Administrative

Expense Payment Procedures (the “Fee Procedures Order”), 7 setting forth procedures for the

request and payment of professional fees and expenses in this case. This Fee Application is an

“Interim Fee Application” within the meaning of ¶ 10 of the Fee Procedures Order and is

intended to meet the criteria of ¶¶ 11 through 15 of that Order.

           6.        On February 16, 2018, the Court entered a Second Amended Order Appointing

Receiver (the “Second Amended Order”), which did not affect billing and fee allowance

procedures as set forth in the above-mentioned Orders, except that paragraph 5 of the Order

requires that the Receiver “obtain prior approval from this court before using Receivership

Assets to present arguments on the merits of the [SEC’s] claims against Traffic Monsoon and



3
    Docket No. 25.
4
    Docket No. 79.
5
    Docket No. 81.
6
    Id. (Amended Receivership Order ¶¶ 17-18).
7
    Docket No. 101.


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Scoville in the above captioned action . . . or in any appeals from orders or judgments of this

court.” 8

                                  Relevant Notices of Requests for Payment

          7.          No requests for monthly payments pursuant to the Fee Procedures Order have

been made for the Application Period.

                                            Relevant Status Report

          8.          On August 30, 2018, the Receiver filed her Sixth Status Report (the “Status

Report”). 9 The Status Report outlines the work done by the Receiver and her professionals

during the current Application Period and is incorporated herein by reference.

                                                      II.

                FEES AND EXPENSES REQUESTED ARE ACTUAL, NECESSARY
                    AND REASONABLE FOR THE SERVICES RENDERED

          9.          During the Application Period, significant professional services were required to

perform the work outlined in the Status Report incorporated herein.

          10.         The Receiver and her professionals have provided actual and necessary services

related to the matters summarized in the Status Report and detailed in the Exhibits attached

hereto for the benefit of the Receivership Estate. Out-of-pocket expenses were also incurred by

the professionals in rendering services to the Receivership Estate.

          11.         Dorsey and BRG have submitted their invoices to the Receiver on a monthly

basis, and the Receiver has reviewed and approved the invoices.



8
    Docket No. 120.
9
    Docket No. 162.


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         12.       The Fee Application complies with the SEC’s Billing Instructions. In accordance

with ¶ 12 of the Fee Procedures Order and the SEC Billing Instructions, the Receiver submitted

this Fee Application to the SEC prior to filing it with the Court, and the SEC has informed the

Receiver that it has no objection to the payment of the fees or reimbursement of the expenses

outlined herein.

         13.       With any adjustments made, the Receiver believes that the fees and expenses are

reasonable, especially in light of the work that has been done during the Application Period as

outlined in the Status Report. She also believes that the services rendered and the expenses

advanced have been beneficial to the Receivership Estate.

                                                   III.

                                     SUMMARY OF EXHIBITS

         14.       Professional services have been recorded contemporaneously with services being

rendered and these services, as well as the expenses incurred, are detailed in the attached

Exhibits described below.

         15.       The Receiver and Dorsey have maintained their time in records organized

according to tasks, with each task record being maintained in chronological order. BRG has

maintained its time in monthly time reports, with each month being broken into task categories.

         16.       The following three Exhibits are attached hereto in support of this Fee

Application:




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                        Exhibit A—Time Records of Receiver

                   Exhibit A                      Summary of Amounts Requested,
                                                  Including Voluntary Reductions


                   Exhibit A-1                    Case Administration

                   Exhibit A-2                    Asset Recovery

                   Exhibit A-3                    Litigation

                   Exhibit A-4                    Claims Process

                   Exhibit B—Time Records of Dorsey

                   Exhibit B                      Summary of Amounts Requested,
                                                  Including Voluntary Reductions

                   Exhibit B-1                    Case Administration

                   Exhibit B-2                    Asset Recovery

                   Exhibit B-3                    General Litigation

                   Exhibit B-4                    International

                   Exhibit B-5                    Out-Of-Pocket Expenses

                          Exhibit C—Time Records of BRG


                   Exhibit C                      Summary of Amounts Requested,
                                                  Including Voluntary Reductions

                   Exhibit C-1                    April 2018 Invoice

                   Exhibit C-2                    May 2018 Invoice

                   Exhibit C-3                    June 2018 Invoice




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                                                   IV.

                              SUMMARY OF AMOUNTS REQUESTED

           17.     The Receiver is requesting allowance of the following fees and out-of-pocket

expenses:

                   a.      Receiver: From April 1, 2018 through the end of the Application Period

           on June 30, 2018, the Receiver has worked a total of 37.0 hours providing receivership

           services to the Receivership Estate for which fees in the total amount of $11,909.25 have

           been incurred after reductions. 10

                   b.      Dorsey: From April 1, 2018 through the end of the Reporting Period on

           June 30, 2018, Dorsey has worked a total of 78.7 hours and provided legal services to the

           Receivership Estate for which fees in the total amount of $26,851.00 and out-of-pocket

           expenses in the total amount of $74.39 have been incurred after reductions. 11

                   c.      BRG: From April 1, 2018 through the end of the Reporting Period on

           June 30, 2018, BRG has worked a total of 52.5 hours providing forensic and general

           accounting services to the Receivership Estate for which fees in the total amount of

           $14,859.50 and out-of-pocket expenses in the total amount of $288.96 have been incurred

           after reductions. 12

           18.     These amounts include reductions made by the respective professionals in an

exercise of their billing judgment and/or at the request of the Receiver or the SEC. The Receiver


10
     See Exh. A.
11
     See Exh. B.
12
     See Exh. C.


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has reduced her fees in the total amount of $1,244.25. 13 Dorsey has reduced its fees in the total

amount of $953.50 and its expenses in the amount of $367.46. 14 BRG has reduced its fees in the

total amount of $848.00. 15

           19.      The Receivership Estate has sufficient funds to pay all amounts requested. 16

           20.      Based on the payments made to date, the Receiver is requesting that she be

authorized to pay all allowed fees and expenses, none of which have been paid to date.

                                                       V.

                   PRIOR APPLICATIONS AND INTERIM NATURE OF REQUEST

           21.      This is the sixth Fee Application of the Receiver and her professionals.

           22.      On June 7, 2017, the Court entered an Order Approving First Interim Fee

Application For Receiver and Receiver’s Professionals For Services Rendered From July 27,

2016 Through March 31, 2017, 17 allowing the fees and expenses requested and authorizing

payment of the same. The Receiver has made the payments authorized by that Order.

           23.      On October 23, 2017, the Court entered an Order Approving Second Interim Fee

Application for Receiver For Receiver and Receiver’s Professionals For Services Rendered

From April 1, 2017 Through June 30, 2017, 18 allowing the fees and expenses requested and



13
     See Exh. A.
14
     See Exh. B.
15
     See Exh C.
16
     See Docket No. 153 (Status Report & Exh. A (SFAR)).
17
     Docket No. 100.
18
     Docket No. 107.


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authorizing payment of the same. The Receiver has made the payments authorized by that

Order.

           24.     On February 8, 2018, the Court entered an Order Approving Third Interim Fee

Application for Receiver For Receiver and Receiver’s Professionals For Services Rendered

From July 1, 2017 Through September 30, 2017, 19 allowing the fees and expenses requested and

authorizing payment of the same. The Receiver has made the payments authorized by that

Order.

           25.     On June 21, 2018, the Receiver filed a Fourth Interim Fee Application for

Receiver For Receiver and Receiver’s Professionals For Services Rendered From October 1,

2017 Through December 31, 2017. 20 This Application was amended pursuant to the Receiver’s

Response to Request for Further Information Regarding Allowance of Certain Legal Fees and

Proposed Amendment to Pending Fee Applications (the “Response”). 21 At this time, an Order

has not been entered with relation to this Application, as amended in the Response.

           26.     On June 25, 2018, the Receiver filed a Fifth Interim Fee Application for Receiver

For Receiver and Receiver’s Professionals For Services Rendered From January 1, 2018

Through March 31, 2018. 22 This Application was amended pursuant to Receiver’s Response.

At this time, an Order has not been entered with relation to this Application, as amended in the

Response.



19
     Docket No. 119.
20
     Docket No. 152.
21
     Docket No. 161.
22
     Docket No. 154.

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         27.       The Receiver and her professionals understand that authorization and payment of

fees and expenses is interim in nature. All fees and expenses allowed on an interim basis will be

subject to final review at the close of the case and the discharge of the Receiver when the

Receiver files a final accounting and final fee application.

                                                   VI.

                   CONCLUSION AND REQUEST FOR COURT APPROVAL

         28.       For the reasons set forth above and as supported by the Exhibits attached hereto,

the Receiver respectfully submits that the fees and expenses requested herein are for actual

services that were necessary for and beneficial to the administration of the Receivership Estate.

The Receiver has made every attempt to contain the administrative expenses of this Receivership

Estate, and she submits that given the work that has been performed as outlined in the Receiver’s

Status Report, the fees and expenses that have been incurred are reasonable.

         29.       Thus, the Receiver respectfully submits this Fee Application and requests that the

Court enter an Order allowing the fees and expenses requested herein. She also requests that the

Court authorize her to pay allowed fees and expenses from funds of the Receivership Estate to




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 12th day of September, 2018, I caused the foregoing SIXTH

INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S

PROFESSIONALS FOR SERVICES RENDERED FROM APRIL 1, 2018 THROUGH

JUNE 30, 2018 to be electronically filed with the Clerk of the Court using the CM/ECF system

which will send notification of the filing to all counsel of record in this case.



                                                           /s/ Candy Long



         I further certify that on this 12th day of June, 2018, I caused the foregoing SIXTH

INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S

PROFESSIONALS FOR SERVICES RENDERED FROM APRIL 1, 2018 THROUGH

JUNE 30, 2018 to be emailed to the following:


wadleyd@sec.gov
olivera@sec.gov
moric@sec.gov
okinakaa@sec.gov
lwashburn@smithcorrell.com
JDurkin@smithcorrell.com
                                                           /s/ Candy Long




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